     Case: 1:22-cv-01048 Document #: 3 Filed: 03/10/22 Page 1 of 1 PageID #:11

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Susan Phillips, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:22−cv−01048
                                                          Honorable Andrea R. Wood
The United States of America
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 10, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic initial status
hearing set for 5/4/2022 at 9:00 AM. To ensure public access to court proceedings,
members of the public and media may call in to listen to telephonic hearings. The call−in
number is (888) 557−8511 and the access code is 3547847. Counsel of record will receive
an email 30 minutes prior to the start of the telephonic hearing with instructions to join the
call. Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. The parties are directed to meet and
conduct a planning conference pursuant to Federal Rule of Civil Procedure 26(f). At least
seven days before the initial status hearing, the parties shall file a joint written status
report, not to exceed five pages in length. The initial status report shall provide the
information described on the Court's website at www.ilnd.uscourts.gov under District
Judges, Judge Andrea R. Wood, Initial Status Conference. Mailed notice (dal, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
